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UNlTED STA'I`ES DISTRIC'I` COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DlVISIC)N § ‘.__'
§§r';\§` §§
CHRISTOPHER KEESEE, individually, ';,§’>$ 113
Plaintiff, ;"§§ "°
§S’,: §§
v. 1 §§‘ <..`_)
WELLS FARGO BANK, N.A. JURY DEMAND §§ *""
a National Bank, 66
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Defendant.

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COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

l. Plaintiff CI-IRIS'I`OPHER KEESEE alleges violations of the 'I`elephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), and the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”) against Defendant WELLS FARGO
BANK, N.A. Plaintiff alleges that Defendant incessantly and unlawfully called
Plaintif`i’s cellular telephone using an automatic telephone dialing system (i.e. “auto-

dialer”) and a pre-recorded or artificial voice.

JURlSDICTION AND VENUE

2. This Court has subject matterjurisdiction under 28 U.S.C. § 1331 as this is a civil action

arising under the laws of the United States.
This Court has personal jurisdiction over the Defendant because the telephone calls
forming the basis of this action were placed by the Defendant into this District, and

because Defendant conducts business in this District by regularly placing telephone calls,

sending mail, and transacting with alleged debtors in this District.

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Venue in this District is proper because the Plaintiff received telephone calls at issue in
this case from Defendant while within this District.
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Plaintiff CHRISTOPHER KEESEE is a natural person and a citizen of the State of
Mississippi, residing in Corinth, Mississippi. At all times material to this case, said
Plaintif`f was residing in Brevard County, Florida. Said Plaintiff is the sole owner,
possessor, user, and subscriber of the cellular telephone that Defendant was calling.
Defendant WELLS FARGO BANK, N.A. (“Wells Fargo”) is a national bank that uses,
among other things, an automated telephone dialing system to engage in the collection of
consumer debts.

FACTUAL ALLEGATIONS
Plaintiff is a customer of Defendant Wells Fargo, and previously opened a checking
account at a branch office of Defendant.
Plaintiff allegedly overdrew the aforementioned checking account, and thereby incurred
an alleged debt to Defendant in the form of a negative account balance.
In consequence, Defendant began placing automated calls to Plaintifi’ s cellular telephone
in an effort to collect the balance and bring Plaintiff`s account positive.
Upon answering any of these calls, Plaintiff was invariably met with either a noticeable
period of “dead air” while Defendant’s telephone system attempted to connect him to a
live representative, or a machine-operated voice that immediately began delivering a pre-
recorded message.
In September 2014, Plaintiff answered several of these calls, explained that he was

unable to pay at the time, and demanded that Defendant cease calling him.

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Despite Plaintiff’s directive to cease calling, Defendant continued to place automated
calls to Plaintiff s cellular telephone.

The Defendant’s method of contacting Plaintiff is indicative of its ability to dial numbers
without any human intervention in the calling process, which the FCC has opined is the
hallmark of an automatic telephone dialing system. See In the Matter of Rules &
Regulations Implementing the Telephone Consumer Protection Acl of 2008, 23 F.C.C.R.
559, 565-66 (2008); [n the Matter of Rules & Regulations Implementing the Telephone
Consumer Proteclion Act of ] 991, 18 F.C.C.R. 14014, 14091-92 (2003).

In sum, the Defendant made telephone calls to Plaintifi"s cellular telephone, each of
which was made using an automatic telephone dialing system or an artificial or pre-
recorded voice,

Defendant made the aforementioned telephone calls knowing that they were using an
automatic telephone dialing system or an artificial or prerecorded voice to call a cellular
telephone, and further knew that such calls were in violation of the TCPA, and
consequently, these violations were willful and knowing.

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vloLATloNs oF TELEPHONE CoNSUMER PROTECTION ACT

Plaintiff incorporates paragraphs 1 through 15 herein.

Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) of the Telephone Consumer Protection
Act by making telephone calls to Plaintiff’s cellular telephone, which were initiated by an
automatic telephone dialing system or made using an artificial or prerecorded voice, and
not legally permissible under any provision to the aforementioned statute.

WHEREFORE, Plaintiff Cl-IRISTOPHER KEESEE, requests that the Court enter

judgment in favor of Plaintiff and against Defendant WELLS FARGO BANK, N.A. for:

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$500 dollars in statutory damages for each violation of the TCPA over the last
four years;

$1,500 dollars in statutory damages for each knowing or willful violation of the
TCPA over the last four years;

a permanent injunction prohibiting Defendant from placing non-emergency calls
to Plaintiff”s cellular telephone using either an automatic telephone dialing system
or an artificial or prerecorded voice;

litigation expenses and costs of the instant suit; and

such other or further relief as the Court deems proper.

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VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

18. Plaintiff incorporates paragraphs 1 through 15 herein.

19. Pursuant to Florida law, Defendant’s practices are in violation of the FCCPA, including

but not limited to Fla. Stat. § 559.72(7), which states that it is a violation to “[w]illfully

communicate with the debtor or any member of her or his family with such frequency as

can reasonably be expected to harass the debtor or her or his family, or willfully engage

in other conduct which can reasonably be expected to abuse or harass the debtor or any

member of her or his family.”

WHEREFORE, Plaintiff CHRISTOPHER KEESEE, requests that the Court enter

judgment in favor of Plaintiff and against Defendant WELLS FARGO BANK, N.A. for:

a.

b.

actual damages;
statutory damages of $1 ,000.00;

a permanent injunction prohibiting Defendant calling Plaintiffs regarding the

alleged debt;

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d. attomey’s fees, litigation expenses, and costs of the instant suit, and;
e. such other or further relief as the Court deems just and proper.
JURY DEMAND
Plaintiff demands trial byjury.
Dated this 23rd day of December, 2014.

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